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15
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16
                                      UNITED STATES DISTRICT COURT
17
                                   NORTHERN DISTRICT OF CALIFORNIA
18
                                                OAKLAND DIVISION
19
     EPIC GAMES, INC.,                                    Case No. 4:20-cv-05640-YGR
20
                           Plaintiff, Counter-Defendant   APPLE INC.’S MOTION FOR RELIEF
21                                                        FROM A NONDISPOSITIVE PRE-
              v.                                          TRIAL ORDER OF A MAGISTRATE
22                                                        JUDGE
     APPLE INC.,
23
                           Defendant, Counterclaimant.    The Honorable Yvonne Gonzalez Rogers
24

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     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
     ORDER OF A MAGISTRATE JUDGE                                            Case No.: 4:20-cv-05640-YGR-TSH
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 1
              Pursuant to Federal Rule 72(a) and Local Rule 72-2, Apple Inc. (“Apple”) respectfully re-
 2
     quests that this Court reverse in part Magistrate Judge Hixson’s order (“Order”) of June 10, 2025
 3
     (Dkt. 1641), which overruled certain of Apple’s privilege assertions over documents reviewed by
 4
     the Special Masters and appealed by one of the parties to Judge Hixson pursuant to the Privilege
 5
     Re-Review Protocol. See Dkt. 1092 ¶ 4. A district judge must set aside any part of a magistrate
 6
     judge’s nondispositive order that is “clearly erroneous or contrary to law.” Fed R. Civ. P. 72(a);
 7
     see Perry v. Schwarzenegger, 268 F.R.D. 344, 348 (N.D. Cal. 2010). Respectfully, several of
 8
     Judge Hixson’s rulings were contrary to law and/or clearly erroneous.1
 9
              Apple reiterates that it preserves for appeal its contention that the primary purpose test, as
10
     applied by the Ninth Circuit in In re Grand Jury, 23 F.4th 1088 (9th Cir. 2021), is not the proper
11
     test for determining attorney-client privilege and that the Court should instead apply the D.C. Cir-
12
     cuit’s formulation. See Dkt. 1193, at 1. Even under the formulation of “the” primary purpose test
13
     applied in In re Grand Jury, however, several of Judge Hixson’s rulings were contrary to law.
14
              Documents Containing Express Legal Advice from Attorneys: 1166 (PRIV-APL-
15            EG_00081510), 1167 (PRIV-APL-EG_00081528)
16            These documents contain express legal advice on their face and are privileged for that rea-

17   son. See Labbe v. Dometic Corp., 2023 WL 5672950, at *4 (E.D. Cal. Sept. 1, 2023); United

18   States v. ChevronTexaco Corp., 241 F. Supp. 2d 1065, 1076 (N.D. Cal. 2002). Specifically, En-

19   try 1166 is an email exchange among Kyle Andeer (in-house counsel) and several non-lawyers

20   regarding a draft economic study from a third party, which the context shows was created in sig-

21   nificant part as a response to regulatory action. Mr. Andeer provides substantive feedback on the

22   study, which is then incorporated into the document. Entry 1167 is the economic study itself and

23   is privileged because it contains and reflects the direct feedback of Mr. Andeer on the email

24   chain, whose comments comprise legal advice.

25            Documents Relaying Legal Advice: Entries 5408 (PRIV-APL-EG_00203226), 7469
              (PRIV-APL-EG_00223363), 4702 (PRIV-APL-EG_00197335)
26
     1
27    Consistent with the protocol, Apple has produced the documents identified in this submission to
     Epic. Dkt. 1092 ¶ 4(c). That production pursuant to a court order did not effect a waiver. See
28   Transamerica Computer Co. v. IBM Corp., 573 F.2d 646, 651 (9th Cir. 1978).

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 1
              These documents are privileged because they relay legal advice obtained from lawyers in
 2
     other communications. See Dolby Lab’ys Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855,
 3
     866 (N.D. Cal. 2019); Chrimar Sys. Inc. v. Cisco Sys. Inc., 2016 WL 1595785, at *3 (N.D. Cal.
 4
     Apr. 21, 2016). Entry 5408 is an email exchange related to certain developer-facing terminology
 5
     for new App Store features arising from regulatory developments. The email discloses infor-
 6
     mation about Apple’s approach to certain open questions and indicates that the approach had been
 7
     reviewed by external counsel, therefore disclosing the content of legal advice. Entry 7469 is a
 8
     Slack message thread among various non-lawyers regarding workstreams related to new App
 9
     Store features arising from regulatory developments. The only redacted portion is a statement
10
     from a non-lawyer describing the legal advice received in a meeting with counsel regarding cer-
11
     tain workstreams. And Entry 4702 is an email exchange among various non-lawyers regarding a
12
     blog post from a competitor; the redacted content discusses advice from Kate Adams (General
13
     Counsel) regarding a response to false statements in the blog post.
14            Information Prepared at the Direction of or in Coordination with Counsel: Entries
15            642 (PRIV-APL-EG_00012488), 643 (PRIV-APL-EG_00012501), 644 (PRIV-APL-
              EG_00012502), 2892 (PRIV-APL-EG_00062521), 2938 (PRIV-APL-EG_00063590),
16            1699 (PRIV-APL-EG_00042478), 8067 (PRIV-APL-EG_00229528)

17            These documents contain information obtained or prepared at the direction of or in coor-

18   dination with counsel in the course of providing legal advice and are therefore privileged. See

19   FTC v. Boehringer Ingelheim Pharms., Inc., 180 F. Supp. 3d 1, 30 (D.D.C. 2016). Entries 642,

20   643, and 644 are spreadsheets of various data related to developers and the App Store. The parent

21   email (PRIV-APL-EG_00012463) and related messages (PRIV-APL-EG_00012485, PRIV-APL-

22   EG_00012489, PRIV-APL-EG_00012503, PRIV-APL-EG_00012522) show that the data was

23   retrieved at the direction of in-house counsel (Brendan McNamara, Martin Gudmundsson, and

24   Luca Villani) in connection with the preparation of a submission to the European Commission

25   regarding various regulatory issues. Entries 2892 and 2938 similarly are spreadsheets of data re-

26   lated to the App Store. Although these spreadsheets were obtained at the direction of an econom-

27   ic consultant (PRIV-APL-EG_00062509), the context shows that the work was being done in

28   close coordination with in-house counsel (Soolean Choy, Sean Dillon, and Rachel Flipse) for the

     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
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 1
     purpose of preparing a submission to a foreign regulator (PRIV-APL-EG_00063578). Entry 1699
 2
     is a spreadsheet containing a sensitivity analysis prepared at the express direction of counsel and
 3
     sent to in-house counsel (Sean Dillon, Sean Cameron, Kyle Andeer, and Doug Vetter) for review,
 4
     as shown in the parent email, PRIV-APL-EG_00042469. And Entry 8067 is an email between
 5
     outside consultants at Analysis Group, outside counsel (Cynthia Richman), in-house counsel
 6
     (Ling Lew), and various non-lawyers. The redacted content consists of information developed by
 7
     Analysis Group at the direction of counsel and comments related thereto. These documents are
 8
     privileged.
 9            Requests for Legal Advice and Materials Provided for the Purpose of Obtaining Le-
10            gal Advice: Entries 1301 (PRIV-APL-EG_00082600), 5900 (PRIV-APL-
              EG_00208165), 58 (APL-EG_11573531), 60 (PRIV-APL-EG_00065503), 3680
11            (PRIV-APL-EG_00187813)), 3607 (PRIV-APL-EG_00187176), 6600 (PRIV-APL-
              EG_00215290), 1166 (PRIV-APL-EG_00081510), 1167 (PRIV-APL-EG_00081528)
12
              These documents all contain requests for legal advice from counsel or other confidential
13
     information provided to counsel for the purpose of obtaining legal advice.
14
              Several documents contain materials sent to counsel in order to solicit legal feedback. En-
15
     try 1301 is an email among non-lawyers outlining a draft regulatory and communications strategy
16
     for new developments in Japan that was prepared for review by Mr. Andeer and Mr. Dillon (in-
17
     house counsel). Entry 5900 is an email soliciting feedback from Mr. Cameron and Ms. Lew (in-
18
     house counsel) on a draft of the new developer Guidelines. Entry 60 is an email exchange in
19
     which a non-lawyer circulates for feedback a draft communications document to Jennifer Brown
20
     (in-house counsel) and a non-lawyer, and Ms. Brown provides legal feedback in response. Entry
21
     58 is a related email in which a non-lawyer copies and pastes the conversation from Entry 60 into
22
     an email to another non-lawyer, and it is therefore privileged for the same reason.2 And Entries
23
     1166 and 1167 are privileged for the reasons discussed above (see supra p. 1), but also are privi-
24
     leged because they contain material sent to legal counsel (Mr. Andeer) for the purpose of securing
25
     legal advice.
26

27   2
      Magistrate Judge Hixson upheld certain redactions to Entries 58 and 60 covering feedback from
     Ms. Brown on the document and a reference to pending legal advice.
28
     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
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               Other documents contain materials or information provided to counsel in order to obtain
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     legal advice or otherwise disclose the subject of a request for legal advice. Entry 3680 is a docu-
 3
     ment containing talking points drafted in the context of the underlying merits trial in this litiga-
 4
     tion, responding to certain arguments raised by Epic.              In the parent email (PRIV-APL-
 5
     EG_00187811), the document is sent to external counsel for the purpose of assisting counsel in
 6
     providing legal advice. Entry 3607 is an email regarding a media inquiry relating to the eviden-
 7
     tiary proceeding in this litigation, and the redacted language discloses an intent to seek legal ad-
 8
     vice on a topic. And Entry 6600 is an email among members of a working group related to regu-
 9
     latory developments in the European Union discussing the content of upcoming meetings with
10
     legal counsel regarding those developments, thereby disclosing the content of a request for legal
11
     advice.
12
               “The attorney-client privilege protects confidential disclosures made by a client to an at-
13
     torney in order to obtain legal advice.” In re Grand Jury Investigation, 974 F.2d 1068, 1070 (9th
14
     Cir. 1992) (quotation marks omitted); see also In re Meta Healthcare Litig., 2024 WL 3381029,
15
     at *2 (N.D. Cal. July 10, 2024) (same). These documents all contain or comprise confidential
16
     disclosures for the primary purpose of seeking legal advice and are therefore privileged.
17             Slide Deck Containing Legal Advice: Entries 4423 (PRIV-APL-EG_00194000)
18             Entry 4423 is a slide deck entitled “App Store – Legal and Regulatory / Trust and Safety:
19   M1 Replan.” The deck consists of a series of charts tracking progress on various projects related
20   to new regulatory requirements, including in the European Union. Throughout the deck, there are
21   references to discussions with legal. The content of the deck makes clear that it is focused on
22   Apple’s workstreams regarding its compliance with these regulatory requirements, and the dis-
23   cussion of legal advice received from counsel confirms that the primary purpose of the deck is to
24   discuss Apple’s progress on the legal aspects of its compliance work. The deck is therefore privi-
25   leged as a document reflecting direct legal advice regarding ongoing regulatory matters.
26                                                      CONCLUSION
27             Apple respectfully requests that the Court reverse the Order in relevant part.
28
     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
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 1

 2   Dated: June 24, 2025                               Respectfully submitted,

 3                                                             By: /s/ Mark A. Perry
                                                               Mark A. Perry
 4
                                                               WEIL, GOTSHAL & MANGES LLP
 5
                                                               Attorney for Apple Inc.
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     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
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